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                          IN THE UNITED STATES BANI~UPTCY COURT
                               FOR TIE DISTRICT OF DELA~~VARE


 In re:                                                    )     Chapter 11

 CENTER CITY HEALTHCARE,LLC d/b/a )                              Case No. 19-11466(KG)
 HAHNEMANN UNIVERSITY HOSPITAL, )
 et al.,l                         )                              Jointly Administered

                                      Debtors.             )


            MOTION OF TENET BUSINESS SERVICES CdRPORATION
             AND CONIFER REVENUE CYCLE SOLUTIONS,LLC FOR
        ENTRY OF ~~N ORDER (I) COIVIPELLING P~Yl~TENT OF aLL Ui`TPr~ID
       POSTPETITION AA'IOUNTS PURSUANT TO 11 U.S.C.§ 503(B)(1) OR,IN
       THE ALTERNATIVE,(II) GIZ~NTING RELIEF FROM THE E~UTO~IATIC
      STAY TO THE EYTENT NECESSARY TO TERRIINATE THE TSA AND VISA

          Tenet Business          Services      Corporation ("Tenet") and                Conifer Revenue           Cycle

 Solutions, LLC ("Conifer") respectfully request entry of an order (a) compelling the Debtors to

pay all unpaid postpetition amounts owing under the TSA and MSA (as defined herein) or any

extension thereof pursuant to 11 U.S.C. § 503(b)(1) or, alternatively,(b)lifting the automatic stay

to allow for the termination of the TSA and MSA, solely to the extent the TSA and MSA did not

terminate prior to the commencement of these cases. In further support of this motion, Tenet and

Conifer' respectfully state as follows:z




     The Debtors ire these cases, along with the last lour- digits of each Debtor's federal tax identiticatiou number, are:
     CenCer City 1~~Iealthcare, LLG (3341), Philadelphia Academic Health System, LLC (8681), SY. Christopher`s
     Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of YA, L.L.C. (1617),
     SCHC Pediatric Associates, L.L.C.(0527), St. Christopher's Pediatric Urgent Care Center-.L.L.C.(6447), SCHC
     Pediatric Anesthesia Associates, L.L.C.(2326), StCln-is Care at Noi-tl~east Pediatrics, L.L.C.(4056), TPS of PA,
     L.L.C.(4862), TPS it ofPA, L.L.C.(5534), TPS llI ofPA, L.L.C.(5536), TPS IV ofI'A, L.L.C.(5537), a~~d TPS
     V of PA, L.L.C. (5540). The Debtors' nailing address is 230 North Broad Street,, Philadelphia, Pennsylvania
     19102.

'-   Tenet ai d Conifer will file the declarations of Michael Maloney and David Dawson in support of this motion in
     connection herewith.
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                                        Preliminary Statement

         1.      In January 2018, Tenet sold Halmemann University Hospital ("Hahnemann") and

 St Christopher's Hospital for Children ("St. Christopher's" and, collectively, the "Hospitals") to

 the Debtors and certain of their non-Debtor affiliates. To facilitate that sale and permit the

 Hospitals to continue to fulfill their public. health and medical education missions, Tenet entered

 into the Transition Services Agreement(the "TSA")pursuant to which Tenet agreed to administer

 electronic patient medical records and related information technology systems for the Hospitals.

 Additionally, Conifer3 entered into the Master Services Agreement(the "MSA"),whereby Conifer

 agreed to provide the Hospitals with on-site revenue cycle management services(including patient

 check-in and registration, patient check-out and payment, patient scheduling for future

 appointments, other non-medical patient-facing administrative services, and enrollment services).

 Offsite, Conifer employees tt•acic and collect patient receivables using Conifer's propi•ietaiy

 softwal•e and, where necessajy, refer "bad debts" to a third-party vendor for collection.

         2.      Unfortunately, the Debtors—under the control of their controlling shareholder,

 California "venture capitalist" Joel Freedman—materially breached these agreements time and

 again, ultimately running up more than $58 zillion in unpaid fees and costs under the TSA and

 the   MSA (exclusive        of any     additional liabilities    assumed     by Tenet at closing).

 Indeed, notwithstanding the fact that Tenet and Conifer have provided uninterrupted services for

 over' a year, the Debtors did not pay ai2y invoices during the seven months leading up to the

 bankruptcy ding. As a result of the Debtors' payment and other defaults, and following Tenet

 and Conifer's repeated and ultimately rebuffed attempts to engage with Debtors regarding the non-




' Conifer is wholly owned by Conifer Health Solutio»s, LLC (a joint vent~u-e between an affiliate of Tenet
  Healtl~cai-e Corporation a»d Catholic Health Initiatives).


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 payment, Tenet and Conifer provided notice of termination of the MSA and TSA on May 2, 2019,

 with such termination to be effective as of May 17, 2019.4

         3.       Following the notice of termination, the Debtors, which had by that time engaged

 a chief restructuring officer, reengaged with Tenet and Conifer. To facilitate that dialogue, Tenet

 and Conifer agreed, on a short-term basis, to continue to provide services at the levels

 contemplated under the terminated TSA and MSA while only receiving a fraction of their

 respective contractual rates in cash, without waiving any right to receive payment in full in cash

for any deficiency. It was Tenet and Conifer's hope that the Debtors wel•e merely in a short-term

liquidity crisis, and that a consensual resolution could be reached and the Debtors could ultimately

 avoid chapter 11, thus ensuring the ongoing viability of the Hospitals. But the Debtors refused to

provide basic financial and o}~erational information to Tenet and Conifer's prior financial advisor,

or even provide information about the Debtors' chapter' 11 strategy after a filing became inevitable.

         4.       Tenet and Conifer most recently agreed to continue to provide services to the

Hospitals at the levels contemplated under the MSA and TSA on July 19, 2019, for one week,

through July 26, 2019. Consistent with their corporate missions and history of charitable giving

in the Philadelphia area, Tenet and Conifer provided these extensions, among other reasons, to

ensure that exceptional medical care is available to the patients served by the Hospitals.

While Tenet and Conifer are still willing to engage on a consensual resolution, Tenet and

Conifer—both of which are accountable to their own stakeholders—can no longer continue to

provide services to the Debtors unless Tenet and ConiFer are fully compensated in cash on the

terms set forth in the now-terminated TSA and MSA.




`i   A copy of tl~e May 2, 2019 termination »once will be filed under seal as exhibit A in connection l~ei-ewith.


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        5.     More specifically, the Debtol•s' prepetition payment defaults notwithstanding,these

estates may already be administratively insolvent, as evidenced by the fact the DIP budget only

includes $200,000 per week for payments to Tenet and Conifer. While Tenet and Conifer expect

the Debtors to take the position that the TSA and MSA remain binding, the budgeted amount is

roughly 25 percent of the contract rate and is insufficient to cover• Tenet and Conifer's costs

(including payroll and benefits for their personnel on-site at the Hospitals). In other words, even

if the TSA and MSA were not validly terminated prepetition, the Debtors have admitted in writing

that they cannot satisfy their postpetition obligations thereunder. Requiring Tenet and Conifer to

continue to perform while they receive a fraction of the cash amount owed on a postpetition basis

is not only inequitable, it will also deepen the Debtot•s' potential administrative insolvency and run

afoul of the bedrock bankruptcy principle that a debtor must pay its postpetition debts in full in

cash in the ordinary course of business when such debts become due and owing.

       6.      Tenet and Conifer expect that the Debtors will argue that any payment shortfalls

are of no moment because the Hahnemann closure and St. Christopher's sale will generate

sufficient cash to pay administrative creditors in full in cash. Tenet and Conifer believe this is

uncertain at this time. Mr. Freedman is the ultimate equity owner of the non-Debtor PropCo

entities (collectively, the "PropCos") that own the real estate on which Hahnemann and St.

Christopher's are located. Mr. Freedman oversaw the structure of the sale of the Hospitals that

included the setup of the Debtors' "OpCo/Pi•opCo" structure whereby the Debtors operate the

Hospitals and the non-Debtor PropCos own the associated real estate. While Mr. Freedman has

agreed to recuse himself from the Debtors' sale process, there is no indication Mr. Freedman

intends to obtain court approval for any sale of the PropCos' real estate (which is located i~~ the

heart ofPhiladelphia and offers aonce-in-a-generation redevelopment opportunity). It is possible
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that Mr. Freedman will use his control over the Debtors and the PropCos to shift value from the

Debtors' banlcru}~tcy estates to the PropCos and profit at the expense of the Debtors and their

creditors.5

       7.       Finally, the Debtors' liquidity shoj•tfall is further compounded by the fact that the

Debtors—without adequate notice to state or city regulators or approval by this Court—have begun

to shutter Hahnemann, and it is therefore increasingly impracticable for Tenet and Conifer to

prudently provide the services to the Debtors on a go-forward basis. Among other things, the

Closure Plan contemplated by the Motion of the Debtorsfor Efatry ofInterim ctnd Final Orders

Pursuant to Sections lOS(A), 363, and 1108 ofthe Ba~zlzrztptcy Code (A)Authorizing the Debtors

to Implemefzt A Plan ofClosurefor Hc~hnemc~nrz University Hospital and (B)Scheduling A Fincrl

Hec~riiag[Docket No. 15] still remains unavailable to parties in interest in these cases a month after

that motion was filed with the Court. If the Hahnemann closure continues as planned, it will cease

to have any medical personnel by September 6,2019, yet Conifer is expected to collect t~eceivables

for months(or years) to come,without any ability to verify those payments with medical oversight.

The lack of information provided by the Debtors about the Hahnemann closure process, as well as

about basic questions regarding how Tenet and Conifer are to provide services post-closure, render

it impossible for Tenet and Conifer to conduct the long-term planning and financial management




   See Mike Elk, Prii~ale Egarit~~'s La/est Scheme: Closing Ur•bai~ Ilos~itals and Selli~ag Offthe Real Ls/a/e, The Am.
   Rep• (July ll, 2019), https://prospect.org/article/private-equitys-latest-scheme-closing-urban-hospitals-and-
   sellinga-eal-estate (`9n addition; while Paladi» puC I-Iahnemann into bankruptcy. it did noe include the real estate
   as part of the banl:ruplcy tiling. `Paladin coi~tii~ues to own the real estate and stands to make a fortune without
   lifting a ringer by selling it to developers ...."') (quoting Eileen Applebaum, co-ciii•ectoi• of the Ce~iter for
   Economic and Policy Research); Matthew Rothstein, Philly Hospitnl tJ~e Fr~rs~ to Be St~~ippeclfo~~ Assets by Private
   Equity, Bisnow (,luly 14, 2019), ]lttps://www.bisnow.coin/philadelpl~iahiews/healthcare/private-equity-hospitals-
   pl~iladelphia-hal~nemam~-99848 ("Rather than sell the hospital business. Freedman is dissolving it and selling the
   campus' buildings tier their considerable real estate value.").
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necessary to provide services to the Debtors and/or to protect their personnel, property, and other

interests.

         8.       Accordingly, Tenet and Conifer respectfully request that the Court compel the

Debtors pursuant to section 503(b) of the Bankruptcy Code to day any amounts attributable to

services provided to the Debtors postpetition, at the rates contemplated by the TSA and MSA (and,

for any amounts that are not yet due and payable under the terms of the TSA and MSA,to escrow

or otherwise reserve such amounts, to be paid promptly to Tenet and Conifer once such fees

become due and owing). Furthermore, Tenet and Conifer simply cannot continue to sustain these

significant losses to perform the services previously provided under the now-terminated TSA and

MSA. As such, to the extent that the Debtors cannot pay the contract rate under the TSA and/or

the MSA for all go-forward services, Tenet and Conifer respectfully request that the Court modify

the automatic stay pursuant to section 362(d) of the Bankruptcy Code to the extent necessary to

permit Tenet and Conifer to terminate the TSA and MSA, solely to the extent that the TSA and

MSA did not terminate prior to the commencement of these cases.6

                                              Jurisdiction and Veuue

         9.       The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334, and the Ai~zeizc~ecl Stc~fzclii~g Order ofReferei~cefrom tl2e United States Dists~ict Courtfor

the District of Delcrwcrre, dated February 29, 2012. This is a core proceeding pursuant to

28 U.S.C. § 157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.




~   To be clear, while Tenet and Conifer believe that tl~e TSA and MSA were validly terminated prepetition, they do
    not seek a declaratory judgment that those agreements were validly terminated. Rather, Tenet and Conifer request
    that the Cotu-t modify the automatic stay to ~er~nit the parties to terminate those agreements ass~uning that tl~e
    agree~~~ents remain in 1~ull force and effect. As described belo~a~, tl~er•e is cause for such reliei'givei~ the Debtors'
    financial co»dition and tl~e uncontested fact Yl~at the Debtors cannot pay their postpetition obligations in full in
    cash in the ordinary course of business.


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          10.     The predicates for the relief requested herein are sections 362(d), 503, and 507 of

chapter 11 of title 11 of the United States Code (the "Bankruptcy Code"), rules 4001 and 9014 of

the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), and rules 2002-1, 4001-1,

9006-1, and 9013-1 of the Local Rules for the United States Bankruptcy Court for the District of

Delaware (the "Local Rules").

                                                    Background

I.       Sale of Hospitals by Tenet; Overview of Services Provided

         11.      From 1998 through January 2018, Tenet owned and operated both Hahnemann and

St. Christopher's. Pursuant to the terms of an Asset Sale Agreement dated August 31, 2017 and

amended January 1l, 2018, Tenet and certain of its affiliates sold certain assets comprising the

Hospitals to a gt~oup of purchasers, including Debtor Philadelphia Academic Health System

("PAHS") and certain of its affiliates. In addition, on January 11, 2018, to assist in the orderly

transition of the Hospitals, PAHS entered into two separate services agreements: the TSA with

Tenet and the MSA with Conifer.g

         12.      Under the TSA, Tenet agreed to provide certain "Information Services" to PAHS

for two years (until January 2020). These services, at a high level, involve the provision of

software applications that allow the Hospitals to store medical records and financial data, calculate

healthcare costs, track and detail patient expenses and accounts and provide patient billing

information, and order and keep track ot~ supplies through vendors For the Hospitals. In addition,




~    Tl~e TSA will be filed under seal as Exhibit B in connection herewith.

s    Tl~e MSA will be filed under seal as Exhibit C in connection l~erewitl~.

~    Certain of the services provided by Tenet under the TSA are so-called "Hass-through" services, which Tenet
     contracts with other vendors to provide for the Hospitals. Tenet then '`passes thirough" the cost of those services
     to PARS.


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Tenet also provides information support "help desk" services, telecommunications connectivity

services related to the applications, and, upon request, provides the Hospitals with quality reports

based on the data entered into the applications.

         13.     Under the MSA, Conifer agreed to provide services to PAHS for an initial term of

three years (until January 2021). The services include certain services provided on site to the

Hospitals, and certain services provided remotely. On site, Conifer provides patient access

services, including patient check in and registration, patient check out and payment, patient

scheduling for future appointments, and other non-medical patient-facing administrative services.

Conifer also provides on-site patient enrollment services. These enrollment services involve

counseling related to the costs patients will face for their treatment and patient eligibility for

government insurance programs.

         14.     Conifer also provides certain remote services, primarily from off-site Conifer

facilities.    These services principally include revenue cycle management, wherein Conifer

employees track and collect patient receivables using Conifer's proprietary software and, where

necessary, refer "bad debts" to a third-party vendor for further collection activity.

IL      PAIIS Has Repeatedly Breached the 1~~ISA and TSB by Failing to I~Ialce Payments
        Due

        15.      Both Tenet and Conifer- provide PAHS with monthly invoices for services provided

under the TSA and MSA. Under both the MS1~ and the TSA,PAHS is obligated to day for services

provided within forty-five days of the invoice. See MSA § 6.1; TSA § 4.1. Both agreements

similarly make clear that continued non-payment for- services constitutes a material breach of the

agreements. See MSA § 15.4; TSA ~ 2.3.




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          16.     PAHS has not paid for a substantial portion of the services rendered. Under the

TSA, PAHS is cut~rently over $27 million in undisputed arrears.10 Under the MSA, PARS is

similarly delinquent: it has not made a single MS11 payment since April 2018, and currently owes

more than $30 million in arrears under the MSA.~ I Certain of the unpaid MSA invoices include

invoices dating as far back as January 2018, the month the MSA was signed. Both Tenet and

Conifer have repeatedly notified PAHS that its non-payment of due and owing invoices constitutes

material breach by PAHS of the agreements.

III.     Tenet and Conifer Have Continuously Attempted to Negotiate with the Debtors

          17.      Due to PAHS's failure to pay its due and owing invoices, and the millions of dollars

ofout-of-pocket costs to Tenet and Conifer, the situation was untenable. Nevertheless, Tenet and

Conifer remained committed to the success ofthe Hospitals. While clearly and explicitly reserving

their rights to terminate the TSA and MSA,for many months neither Tenet nor Conifer terminated

when they could have; instead, they continued providing services and attempted to work out a

consensual solution with PAHS. For months, Tenet and Conifer worked to establish a dialogue

with PARS to find a workable solution for all parties. PAHS would initially display interest and

a willingness to engage, secure an extension ofTenet and Conifer's provision ofservices, and later

abandon settlement discussions with nn explanation.




10   PARS is currently over $28 million i~1 total ~n-ears under the TSA. On NovEmber 20, 2018, PARS sent a single
     '`Dispute Notice,'' wl~icl~ disputed $806,368.25 in fees. The dispute notice will be filed under seal as Exhibit D
     in com~ection herewith.

~~   PA1-1S has sent a single "dispute notice," in the form of a letter dated September 18, 2018. A number- of the
     purportedly disputed invoices lead actually been approved by PAHS's own Chief Revenue Cycle Director Sheldon
     Pink, which Conifer informed PARS via a response letter dated October 12, 2018. F~u-tl~er, tl~e dispute was not
     timely: each of the newly '`disputed" invoices was already past clue. All of Conifer's invoices since September
     2018 ai-e w~disputed, totaling more than $19 million.
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IV.    Conifer and Tenet Sent PARS a Termination Notice on Nlay 2, 2019

       18.    On May 2, 2019approximately one year since PAHS last paid an invoice under

the MSA and over one month since PAHS shut down the settlement and transition negotiations

with no explanation—Tenet and Conifer sent PARS a letter(a) overviewing Tenet's and Conifer's

efforts to support the Hospitals to date,(b) outlining PARS' repeated failure to pay for services

under the MSA and TSA, and (c) providing notice that the TSA and- MSA were terminated,

effective as of May 17, 2019, absent cure of all outstanding amounts due prior to such time.

       19.     Settlement negotiations briefly resumed following PARS' receipt of the

termination notice, and Tenet and Conifer agreed to extend the impending termination date several

times to facilitate these discussions. On June 30, 2019, the Debtors commenced these chapter 11

cases. The current extension of the termination date extends through July 26, 2019.

                                       Relief Requested

       20.    By this Motion, Tenet and Conifer seek entry of an order, substantially in the form

attached hereto as Exhibit E (the "Proposed Order"), compelling the Debtors to pay all unpaid

postpetition claims owing to Tenet and Conifer under the TSA and MSA pursuant to

section 503(b)(1) of title 11 of the United States Code (the "Bankruptcy Code")

       21.    Tenet and Conifer validly terminated the TSA Ind MSA prepetition. Nevertheless,

to the extent that such agreements were not validly terminated prepetition, Tenet and Conifer

request that the Court modify the automatic stay pursuant to section 362(4)(1) to the extent

necessary to terminate the TSA and MSA absent mutual agreement among the parties regarding

go-forward terms.




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                                          Basis for Relief

I.      The Court Should Grant Tenet and Conifer Administrative Expense Claims and
        Compel the Debtors' Immediate Payment Thereof

        22.     Section 503 of the Bankruptcy Code provides that, after notice and a hearing, there

shall be allowed administrative expenses, including the "actual, necessary costs and expenses of

preserving the estate." 11 U.S.C. § 503(b)(1)(A). This Court has consistently held that a debtor

must pay the reasonable value of the necessary services received under a postpetition executory

contract pending assumption or rejection of that contract when the debtor continues to receive the

benefits of the contract. In re Smurfit-Stone Coratcziner Corp., 425 B.R. 735, 741 (Bankr. D. Del.

2010)("Courts in this District have consistently held that an administrative expense priority is

available to contract parties when the debtor enjoys the benefits ofthe contract pending assumption

or rejection."); see also Ire re Sports~nczn's Warehouse, 436 B.R. 308, 315 (Banlcr. D. Del. 2009)

(involving a nonresidential lease for real property but considering section 503); In re Co~zti~~entczl

Airlines, Inc., 146 B.R. 520, 526 (Banlcr. D. Del. 1992)(citing NLRB. v. Bildisco, 465 U.S. 513,

531 (1984)).

        23.    It is presumed that the contract rate is the reasonable value of the services provided

to the estate. Smurfit-Stone, 425 B.R. at 741 (citing In re Bethlehem Steel Corp., 291 B.R. 260,

264 (Banlcr. S.D.N.Y. 2003)); see also Sportsman's Warehouse, 436 at 314 ("The amount of the

benefit to the estate is presumed to be the contract rate ...."). The contract rates for the critical

services provided under the TSA and MSA require weekly payments of approximately $810,000.

        24.    Tenet and Conifer's performance under the TSA and MSA has given rise to unpaid

postpetition amounts that, as of the date hereof, are approxunately $1.4 million and $1.8 million,

and are continuing to accrue each week in the ~motmt of approximately $250,000 and $360,000,

taking into account the $200,000 weekly payments made pursuant to the DIP budget. For these


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reasons, the Court should allow Tenet an administrative expense claim in the amount of at least

$1.4 million and Conifer an administrative expense claim in the amount of at least $1.8 million on

account of unpaid postpetition services provided to the Debtors thus far under the TSA and MSA,

respectively. This administrative claim increases significantly every week the Debtors underpay

Tenet and Conifer.

       25.     Tenet and Conifer also respectfully request that the Debtors pay these

administrative claims immediately(and place amounts into escrow for fees that have been incurred

but are not yet due and payable pursuant to the terms of the TSA and MSA, with such escrowed

amounts to be paid promptly to Tenet and Conifer once they become due and owing). Due to the

potential for the Debtors' administrative insolvency, prompt payment(and escrow of amounts that

have been incurred but are not yet due and owing pursuant to the TSA and MSA)is appropriate.

"Courts have discretion to determine when an administrative expense will be paid." In Ye Garden

Ridge Corp., 323 B.R. 136 (Banlcr. D. Del. 2005)(citing HQ Global Holdings, Inc., 282 B.R. 169,

173 (Bankr. D. Del. 2002)); see also Co~~tijzentczl Airlines, 146 B.R. at 531. "In determining the

time of payment, courts consider prejudice to the debtor, hardship to the claimant, and potential

detriment to other creditors." Id.

       26.     The Debtors are currently underpaying Tenet and Conifer by approximately a

combined $610,000 weekly so long as Hahnemann operates, as the Debtors' DIP budget only

provides for weekly payments of $200,000 on account of postpetition services provided by

Conifer. Tenet is not receiving any payments under the cm-rent DIP budget. Despite the Debtors'

delinquency, both Tenet and Conifer have continued to provide postpetition services to the Debtors

and are suffering substantial losses in connection therewith, as the Debtors' payments do not even

cover Tenet and Conifer's costs under the TSA and MSA.



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          27.      The Debtors would not be prejudiced if required to pay the reasonable value of

Tenet and Conifer's ongoing services.12 The Debtors admitted at the DIP hearing that they are

currently paying in cash "all of [the Debtors'] vendors on apost-petition basis currently." See

Ht•'g Tr. (July 12, 2019) at 54:15-17. However, the Debtors are not treating the expenses

associated with Tenet and Conifer's services with the same level ofurgency as all other operational

costs that are apparently being paid in full in cash in the ordinary course. The alternative to

contemporaneous payment, as discussed in the next section, is that Tenet and Conifer cease

performance under the contracts. As their course of dealings demonstrates, Tenet and Conifer do

not weigh this option lightly, but Tenet and Conifer have now been faced with over a year of

nonpayment and are presently subsidizing the Debtors by providing these critical services on a

postpetition basis at a significant loss to Tenet and Conifer, without a guarantee of any recovery

aside from the Debtors' payment of a quarter of the contract rate.

IL        Alternatively, the Court Should Grant Teuet and Conifer I~ielief from the Automatic
          Stay to mellow for the Termination of the TSA and MSA,If Necessary

          A.       Section 362(d) of the Bankruptcy Code Permits the Court to Modify the
                   Automatic Stay "For Cause."

          28.      Section 362(a) of the Bankruptcy Code provides for the automatic stay of certai~i

actions against a debtor or its property. 11 U.S.C. § 362(a). Section 362(d)(1) provides that the

automatic stay maybe lifted for "cause, including the lack of adequate protection of an interest in

property of such party in interest[.]" J 1 U.S.C. § 362(d); Rocco v. J.P. Morgan Chase Bcz~zlz, 255

F. App'x 638, 64l (3d Cit-. 2007). The Bankruptcy Code does not define "cause," but courts have




~'-   Tenet and Conifer• expect that the Debtors will respond to this motion by arguing that the Debtors have brougl~Y
      formal claims and made informal allegations against Tenet anti Conifer that allegedly exceed the amounts due
      imcler the TSA and MSA. Tenet and Conifer vigorously dispute those allegatiw~s and will respond at tl~e
      ap}~ropriate time, but the fact remains that these fees remai» due under the TSA and MSA (ancl those agreements
      do not allow for set-off against other claims between tl~e parties).


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explained that "[c]ause is a flexible concept and courts often conduct a fact intensive, case-by-case

balancing test, examining the totality of the circumstances to determine whether sufficient cause

exists to lift the stay." In re SCO GYp., hzc., 395 B.R. 852,856(Banlcr. D. Del. 2007). Bankruptcy

courts have found "cause" to lift the automatic stay exists when: (a) the debtor• or the debtor's

estate will not be greatly prejudiced; (b) the hardship to the movant by maintenance of the

automatic stay considerably outweighs the hardship to the debtor; and (c) the movant has a

reasonable chance of prevailing on the merits. In re Rexene Prods. Co., 141 B.R. 574,576(Bankr.

D. Del. 1992)(citing In re Fer~zstro~n Storage & i~an Co., 938 F.2d 731, 735 (7th Cir. 1991));

accord In re Continesztccl Airlifzes, Inc., 152 B.R. 420,424(D. Del. 1993).

        29.     Once the movant establishes a prima ,facie case that "cause" exists to lift the

automatic stay, the burden of proof shifts to the debtor to show that "cause" does not exist.

See 11 U.S.C. § 362(g) ("In any hearing ...concerning relief from the stay of any act under

subsection (a) of this section—(1)the party requesting such relief has the burden of proof on the

issue of the debtor's equity in property; and (2) that the party opposing such relief has the burden

of proof on all other issues.").

       B.      To the Extent that the TSA and MSA ~'Vere Not Validly Terminated
               Prepetition, Cause Exists to A~lodify the Automatic Stay to Terminate the TSA
               and MSS at this Time.

       30.     As described above, pursuant to a letter dated May 2, 2019, Tenet and Conifer

provided notice of the termination of the TSA and MSA in response to the Debtors' year-long

material breaches, with such termination to be effective on May 17, 2019 (the "Termination

Date"). Since that time, Tenet and Conifer have provided services at the levels contemplated under

the TSA and MSA on a temporary basis, with the latest agreement set to expire on July 26, 2019.

In-especfive of any dispute as to whether Tenet and Conifer validly terminated the TSA and MSA



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prepetition, "cause" exists under section 362(d)(1) of the Bankruptcy Code to lift the automatic

stay to permit termination of those agreements at this time.

       (i)     Factor #1: The Debtors Will Not Be Greatly Prejuclicecl.

        31.    The first factor relevant to whether "cause" exists to lift the automatic stay is

whether the debtor or the debtor's estate will not be greatly prejudiced. See In re Rexefze Prods.

Co., 141 B.R. 574, 576 (Bankr. D. Del. 1992)(internal citations omitted). As noted above, the

Debtors are receiving a windfall at Tenet and Conifer's expense because the estates are receiving

services for a fraction of the bargained-for contractual rate. The requested relief will require the

Debtors to pay their postpetition obligations in full in cash in the ordinary course, as required by

section 503(b) of the Bankruptcy Code. While the requested relief may impose additional costs

on the estates, Bankruptcy Code's requirement that a debtor• in possession pay its postpetition

obligations in full in cash is the "p1•ice of admission" for a debtor to obtain the benefits provided

by chapter 11 ofthe Bankruptcy Code. With respect, the Debtors cannot use their refusal to satisfy

postpetition obligations in full in cash as a basis to oppose the requested relief.

       (ii)    Factor #2: Tenet afad Co~~ifer Face Sigizificc~izt Hardship if the Cozart Does Not
               Perfnit Termilzc~tiol2 ofthe TSA cznd MSA bnmecliately.

       32.     The second factor relevant to whether "cause" exists to lift the automatic stay is

whether• the hardship to the movant by maintenance of the automatic stay considerably outweighs

the hardship to the debtor. See i~l.

       33.     There is no question that Tenet and Conifer, absent the requested relief, will face

massive costs, and that those costs outweigh any benefit to the Debtors of forcing Tenet and

Conifer to continue to provide services atbelow-market rates. More specifically, since the Petition

Date, the Debtors have only paid 25 percent of the contract rate that is provided for in the DIP

budget, and have not evidenced any ability or intention to pay more than that anlount on a


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go-forward basis (and, indeed, the DIP budget would prevent any additional payments for this

initial 13-week period). Put simply, Tenet and Conifer should not(and cannot) bear the burden of

effectively financing the Debtors' postpetition operations on an unsecured basis.13

         34.      Furthermore, while thet•e is a possibility that the PropCos' real pf•ope~-ty assets will

fetch a substantial sutn, there is significant risk that Mr. Freedman will use his control over the

Debtors and their non-Debtor affiliates to steer the allocation of any sale proceeds to the PropCos,

which are outside of these chapter 11 cases.

         (iii)    Factor #3: Tenet and Cof2ifer Are Likely to Prevail on the Merits Becazcse the
                  Debtors Have Habitually Breached, c~ncl Contifzice to Preemptively Breach, the TSfI
                  cznd MSA.

         35.      The final factor relevant to whether "cause" exists to lift the automatic stay is

whether the movant has a reasonable chance of prevailing on the merits. See id. For the reasons

set forth above, if the MSA and TSA were not validly terminated prepetition, cause plainly exists

under section 362 of the Bankruptcy Code at this time to terminate those agreements. There is no

dispute that the Debtors have breached the terms of the TSA and MSA because the Debtors have

refused to agree to pay the amounts due for the postpetition period through the date hereof in full

in cash at their contractual rates. Moreover, the Debtors have preemptively breached the TSA and

MSA with respect to any go-forward period because the Debtors have agreed to limit payments to

Tenet and Conifer to $200,000 per week, a fraction of the amounts owed to each during those

successive periods. Even more problematic is the fact that the DIP order pNohibits the Debtor's

from paying the contractual rates; in other words, the Debtors could not agree to pay the



~~   It is possible that at some point there nay be a determination by the Court that the Debtors' estates are
     administratively insolvent, and to retroactively impair all holders of administrative claims to ensure a fair and
     equitable disCr•ibution to all administrative creditors. But Tenet and Conifer• cannot be required t~o agree to
     continue Yo provide their services to the Debtors on a 75%discount, or conti»Lie to perform when tl~e Debtors are
     unable to pay more than a fraction of what is owed in cash.


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go-forward fees and expenses absent agreement with the DIP lender or violating a court

order. Finally, the Debtors admittedly cannot assume the agreements because they lack funding

to satisfy the applicable cure amounts (which the Debtors' own petitions place in the tens of

millions of dollars). See, e.g., In Ye West Electronics, 852 F.2d 79, 83-84 (3d Cir. 1988)(finding

that the automatic stay should be lifted to allow termination of a contract when the debtor was

unable to assume the contract);In re Hernandez,287 B.R. 795,807(Bankr. D. Ariz. 2002)(same).

                                      Reservation of Rights

       36.     Tenet and Conifer reserve all rights, remedies, claims, counterclaims, and defenses

under the TSA and the MSA, at law, and in equity, including, without limitation, Tenet and

Conifer's right to file an administrative expense claim and/or a rejection damages claim.

                                              Notice

       37.     A copy ofthe Motion has been provided to (a)counsel to the Debtors;(b) the Office

of the United States Trustee; (c) counsel to the Official Committee of Unsecured Creditors; (d)

counsel to MidCap Funding IV Trust; (e) Drexel University d/b/a Drexel University College of

Medicine;(fl the Debtors' unions;(g)the Internal Revenue Service;(h)the United States Attorney

for the District of Delaware; (i) the United States Department of Justice; (j) the Pennsylvania

Attoz-ney General's Office; (lc) the Pennsylvania Department of Human Services; (1) the City of

Philadelphia; and(m)all applicable federal, state and local taxing and regulatory authorities having

jurisdiction over the Assets; and (n) all parties who have filed a notice of appearance and request

for service of papers pursuant to Bankruptcy Rule 2002. Tenet and Conifer submit that, under the

circumstances, such notice constitutes good and sufficient notice of this Motion and no other yr

further notice need be given.




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                                        No Prior Request

       38.     No prior request for the relief sought in this Motion has been made to this Court or'

to any other court.




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       WHEREFORE, Tenet and Conifer respectfully request that the Court enter the Proposed

Order and grant such other relief as is just an     per under the circumstances.

Dated: July 26, 2019               PACH LSKI SANG ZIEHL &JONES LLP
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